        Case 3:13-cr-00071-VLB Document 1380 Filed 05/11/20 Page 1 of 8



                        UNITED STATES DISTRICT COURT
                           DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA              :
                                      :       Case No. 3:13cr71(VLB)
              v.                      :
                                      :       May 11, 2020
PEDRO RIVERA                          :




  GOVERNMENT’S RESPONSE TO DEFENDANT’S EMERGENCY MOTION FOR
                   COMPASSIONATE RELEASE

        The Government hereby responds to defendant Pedro Rivera’s emergency

motion for compassionate release, Doc. No. 1378. For the reasons stated herein,

the motion is premature for failure of the defendant to exhaust the administrative

remedies within the Bureau of Prisons. Should the Court decide to address the

merits of the defendant’s motion itself, the defendant has not sufficiently shown

“extraordinary and compelling reasons” to warrant his immediate release.

        By way of background, the defendant was the lead defendant in a 2013

cocaine conspiracy operating in New London, Connecticut and Puerto Rico. On

December 9, 2015, this Court sentenced the defendant to 116 months in prison.

The defendant is currently incarcerated at the minimum security camp at Devens

FMC. According to the Bureau of Prison’s website, the defendant’s release date

is June 29, 2021.

   I.      The Defendant May Not Present a Motion to This Court Until 30 Days
           After Making a Request to the Warden That BOP Support a Motion for
           Compassionate Release.

                                          1
           Case 3:13-cr-00071-VLB Document 1380 Filed 05/11/20 Page 2 of 8



          As an initial matter, this Court lacks authority to act on the defendant’s

motion for compassionate release at this time. The statute requires that a request

for compassionate release be presented first to the Bureau of Prisons for its

consideration; only after 30 days have passed, or the defendant has exhausted all

administrative rights to appeal the Bureau’s failure to move on the defendant’s

behalf, may a defendant move for compassionate release in court. That restriction

is mandatory, and it continues to serve an important function during the present

crisis.

          The compassionate release statute provides, in pertinent part:

          The court may not modify a term of imprisonment once it has been
          imposed except that—

          (1) in any case—

          (A) the court, upon motion of the Director of the Bureau of Prisons, or
          upon motion of the defendant after the defendant has fully exhausted
          all administrative rights to appeal a failure of the Bureau of Prisons to
          bring a motion on the defendant’s behalf or the lapse of 30 days from
          the receipt of such a request by the warden of the defendant’s facility,
          whichever is earlier, may reduce the term of imprisonment . . . .

18 U.S.C. § 3582(c)(1)(A).

          Here, the defendant has offered evidence that his compassionate release

request was filed on April 21, 2020. See Doc. 1378-1. Accordingly, 30 days have

not passed between his request and the filing of his motion.

          The defendant’s argument that this Court may excuse the exhaustion

requirement under 18 U.S.C. § 3582(c)(1)(A) should also fail. While federal courts

are sharply divided on whether a court may excuse or “waive” section 3582(c)’s


                                             2
          Case 3:13-cr-00071-VLB Document 1380 Filed 05/11/20 Page 3 of 8



exhaustion requirement, see, e.g., United States v. Smith, 2020 WL 1903160, at *3

(D. Conn. 2020) (collecting cases); United States v. Vigna, 202 WL 19000495, at *5

(S.D.N.Y. 2020) (same), the language in section 3582(c) is clear. As Judge Meyer

recently explained: “Section 3582(c)(1)(A) doubtlessly creates a type of mandatory

statutory exhaustion requirement. A defendant must either fully exhaust all of the

BOP’s administrative appeal requirements or, in the alternative, a defendant must

wait for 30 days after seeking relief from the prison warden before filing a motion

for relief with the court. The 30-day waiting time rule functions as an exception to

a plenary exhaustion requirement, and the statute does not invite judges to craft

additional exceptions.” United States v. Vanessa Vence-Small, No. 3:18cr31(JAM),

Doc. 87, at 8 (D. Conn. Apr. 20, 2020).

   II.      Even if the Court Were to Reach the Merits of the Defendant’s Motion,
            the Record is Insufficient to Show Extraordinary and Compelling
            Reasons

         Assuming that the Court reaches the merits of the defendant’s motion, the

defendant has not shown that “extraordinary and compelling reasons” exist in his

specific case for a sentence modification under Section 3582(c)(1)(A)(i).          The

Government recognizes the health risks at stake. However, the defendant has

asserted only in conclusory terms his vulnerability to Covid-19 because of his

diabetes.

         A court may reduce a term of imprisonment under 18 U.S.C. § 3582(c)(1)(A)(i)

if, after considering the factors set forth in 18 U.S.C. § 3553(a), the court finds that

“extraordinary and compelling reasons warrant such a reduction” and “that such


                                           3
        Case 3:13-cr-00071-VLB Document 1380 Filed 05/11/20 Page 4 of 8



a reduction is consistent with applicable policy statements issued by the

Sentencing Commission.”        18 U.S.C. § 3582(c)(1)(A)(i).   The applicable policy

statement is found at U.S.S.G. § 1B1.13, which provides in relevant part that a

sentence reduction is appropriate if “the court determines that extraordinary and

compelling reasons warrant the reduction . . . the defendant is not a danger to the

safety of any other person or to the community . . . and the reduction is consistent

with this policy statement.”

        The defendant first cites to the fact that he has diabetes as a factor that

merits his release. However, the defendant has not provided any medical records

to further expand on his condition. The Government credits that the defendant

does have type-II diabetes, see PSR ¶71, but beyond this, the Court is left to guess

as to the defendant’s overall medical health. The Center for Disease Control cites

individuals with underlying medical conditions, including individuals with

diabetes, for an increased risk of severe illness from COVID-19, but qualifies such

a risk factor by noting “particularly if [the underlying medical condition] is not well

controlled.”        See    https://www.cdc.gov/coronavirus/2019-ncov/need-extra-

precautions/people-at-higher-risk.html The defendant has provided no medical

records that speak to his overall health or whether his type-II diabetes is properly

under control. According to the American Diabetes Association, approximately

10.5%          of    the       population        has        diabetes.             See

https://www.diabetes.org/resources/statistics/statistics-about-diabetes.        Given

that the defendant does not allege that his diabetes is out of control, that he does


                                          4
       Case 3:13-cr-00071-VLB Document 1380 Filed 05/11/20 Page 5 of 8



not have any other serious medical concerns and his relatively young age (41), he

has not shown that he is at a high risk of severe complications from COVID-19.

Indeed, if diabetes alone constituted an “extraordinary” medical condition

warranting release, a sizeable portion of the Bureau of Prisons population would

also be eligible for release under Rivera’s argument.

      Next, the defendant cites to his rehabilitative efforts and good conduct while

imprisoned to warrant release.     Assuming this to be true (the defendant has

provided no documentation as such) reducing his sentence based solely on his

rehabilitation would not be consistent with the applicable policy statement,

U.S.S.G. § 1B1.13. See U.S.S.G. § 1B1.13, cmt. n. 3 (“Pursuant to 28 U.S.C. § 994(t),

rehabilitation of the defendant is not, by itself, an extraordinary and compelling

reason for purposes of this policy statement.”).

      Finally, the Government submits that the defendant’s proposed release

plan—that he immediately return from Massachusetts to Puerto Rico to live with

his “wife”—does not offer assurance the defendant will not be at greater risk of

exposing himself or others to the virus. It is unclear as to who the defendant means

by his “wife,” as he was in the process of divorcing his Puerto Rican-based wife

and planned to marry his New London-based girlfriend at the time of sentencing. 1

See PSR ¶¶ 68-69. Moreover, given Mr. Rivera’s frequent trips back and forth from




1
 Mr. Rivera’s son was reported in 2015 to suffer from a medical condition that may
make the child more vulnerable to COVID 19. See PSR ¶69.
                                        5
            Case 3:13-cr-00071-VLB Document 1380 Filed 05/11/20 Page 6 of 8



Puerto Rico to Connecticut, see PSR ¶ 67, there is a concern that his return to such

a travel pattern could increase his risk of getting sick.2

    III.      The Conditions at FMC Devens

           As of the filing of this response, the Bureau of Prisons is reporting a single

confirmed positive staff member at FMC Devens and is not reporting any positive

cases of COVID 19 for inmates. See https://www.bop.gov/coronavirus/ (visited May

11, 2020 at 8:30 a.m.).

           According to the declaration filed by a Bureau of Prisons representative in

civil litigation in the District of Massachusetts, see Grinis et al. v. Spaulding, Civ.

No. 20-cv-10738-GAO, Doc. 36-1, dated April 24, 2020, the prison camp houses

approximately 128 inmates. The camp is next to the medical facility but “the

populations do not interact.” ¶ 24. Devens is employing “phase 6” procedures,

which includes the suspension of all visits, limited inmate movement, enhanced

screening of staff, the provision of face masks to all staff and inmates, and

screening of new inmates.




2
 Given the defendant’s placement at a BOP facility in Massachusetts, the
Government suspects that Mr. Rivera may have long term plans to return to
Connecticut, where he was living at the time of the instant offense, and not Puerto
Rico.
                                         6
      Case 3:13-cr-00071-VLB Document 1380 Filed 05/11/20 Page 7 of 8



IV.      Conclusion

      The defendant’s motion for compassionate release should be denied.


                                    Respectfully submitted,

                                    JOHN H. DURHAM
                                    UNITED STATES ATTORNEY

                                     /s/ Sarah P. Karwan______
                                    SARAH P. KARWAN
                                    ASSISTANT U.S. ATTORNEY
                                    DISTRICT OF CONNECTICUT
                                    Federal Bar No. ct22911
                                    157 Church Street, 25th Floor
                                    New Haven, CT 06510
                                    Tel.: (203) 821-3700
                                    Fax: (203) 773-5376




                                      7
       Case 3:13-cr-00071-VLB Document 1380 Filed 05/11/20 Page 8 of 8



                             CERTIFICATE OF SERVICE

       I hereby certify that on May 11, 2020, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing.
Notice of this filing will be sent by email to all parties by operation of the Court’s
electronic filing system or by mail to anyone unable to accept electronic filing as
indicated on the Notice of Electronic Filing. Parties may access this filing
through the Court’s CM/ECF System.

In addition, a copy of the foregoing was sent via U.S. Mail to

Pedro Rivera, Pro Se
Federal Medical Center, Devens MA
P.O. Box 879
Ayer, MA 01432
                                        ________/s/_________________
                                        SARAH P. KARWAN
                                        ASSISTANT U.S. ATTORNEY




                                           8
